            Case 3:19-cv-01163-KM Document 14 Filed 05/07/20 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

 MARY CONWAY,

                       Plaintiff                     CIVIL ACTION NO. 3:19-CV-1163

           v.                                              (MEHALCHICK, M.J.)

 RGS FINANCIAL, INC.,

                       Defendant



                                           ORDER

       AND NOW, this 7th day of May 2020, it having been reported to the court that this

matter has settled, IT IS HEREBY ORDERED that all deadlines in the above-captioned

action are STAYED, the Clerk of Court is directed to mark this matter CLOSED for

statistical purposes only, and the parties shall, as soon as practicable, submit an appropriate

dismissal filing in accordance with Federal Rule of Civil Procedure 41(a). 1


Dated: May 7, 2020                                         s/ Karoline Mehalchick
                                                           KAROLINE MEHALCHICK
                                                           United States Magistrate Judge



       1
          Rule 41 contemplates three methods of dismissal. Before an answer or summary
judgment motion has been filed, an action can be dismissed by a notice of dismissal signed by
the plaintiff alone. See Fed. R. Civ. P. 41(a)(1)(A)(i). After an answer or motion for summary
judgment has been filed, the parties can dismiss a case by filing a stipulation of dismissal
signed by all parties to have appeared. See Fed. R. Civ. P. 41(a)(1)(A)(ii). Either of these
filings operates to close the case and end the court’s jurisdiction without further court action.
For any dismissal that is conditional or otherwise requires court approval, including, for
examples, a request that the court retain jurisdiction for a specific period of time for
enforcement of the settlement, the plaintiff shall submit a motion to dismiss setting forth the
requested terms for dismissal, accompanied by a proposed order. See Fed. R. Civ. P. 41
(a)(2).
